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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 05-20893-CR-GRAHAM/O’SULLIVAN


   UNITED STATES OF AMERICA,

         Plaintiff,

   v.


   ERIC GARDINER,

        Defendant,
   __________________________/

   JOSEPH HANNA ABI CHEDID

        Third Party Petitioner.
   __________________________/

   TANIOS HANNA ABI CHEDID
   and MARGUERITE HADDAD
   ABI CHEDID

        Third Party Petitioners.
   __________________________/

   LIZETTE MAKHLOUF
   and YOUSSEF MAKHLOUF

        Third Party Petitioners.
   __________________________/

                            REPORT AND RECOMMENDATION

         THIS MATTER came before the Court on the Motion for Reconsider [sic] Order

   (D.E. 695) Dated January 19, 2007 Adopting Magistrate’s Report (D.E. 654) Dated

   December 5, 2006 (DE# 715, 2/28/07) by Lizette Makhlouf and Youssef Makhlouf

   (collectively “Makhlouf petitioners”) and the Motion for Clarification and Reconsideration
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   of Dismissal Orders and for Leave to Amend Petitions of Third Party Petitioners to

   Address Deficiencies (DE# 776, 6/26/07) filed by third party petitioners Joseph Hanna

   Abi Chedid, Tanios Hanna Abi Chedid and Marguerite Haddad Abi Chedid (collectively

   “Abi Chedid petitioners”). This matter was referred to the undersigned by the Honorable

   Donald L. Graham, United States District Court Judge for the Southern District of

   Florida, pursuant to 28 U.S.C. § 636(b) (DE# 786, 7/18/07). Having reviewed the

   applicable filings and law, the undersigned respectfully RECOMMENDS that the

   Makhlouf petitioners’ Motion for Reconsider [sic] Order (D.E. 695) Dated January 19,

   2007 Adopting Magistrate’s Report (D.E. 654) Dated December 5, 2006 (DE# 715,

   2/28/07) and the Abi Chedid petitioners’ Motion for Clarification and Reconsideration of

   Dismissal Orders and for Leave to Amend Petitions of Third Party Petitioners to

   Address Deficiencies (DE# 776, 6/26/07) be GRANTED.

                                         BACKGROUND

          This is a criminal forfeiture proceeding arising from the prosecution of Eric

   Gardiner (hereinafter “defendant”) for drug related offenses. See Indictment (DE# 3,

   12/2/05). On May 16, 2006, the defendant pled guilty to Counts 1 and 9 of the

   Indictment and agreed to forfeit certain property (DE# 428 at 5, 5/31/06). On May 24,

   2006, the Court entered a Preliminary Order of Forfeiture (DE# 428, 5/31/06) in this

   matter forfeiting to the government all right, title and interest of the defendant in certain

   property, including property to which the petitioners claim an ownership right.

   A.     The Abi Chedid Petitioners

          1.     Petitioners Tanios and Marguerite Abi Chedid

          On September 13, 2006, Tanios and Marguerite Abi Chedid timely filed their
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   Petition of Third Parties Motion for Modification of Forfeiture Order and Release of

   Property Forfeited (DE# 579) concerning funds in account # 130575 up to $189,604.80,

   at InterAudi Bank, New York, New York and funds in account # 30037538720 up to

   $100,000.00, at International Bank of Miami, Coral Gables.1 The government seize d

   approximately $67,104.71 from the InterAudi Bank account and approximately

   $21,401.62 from the International Bank of Miami account. On October 4, 2006, the

   government moved to dismiss the petition (DE# 602) for failure to comply with 21

   U.S.C. § 853(n). On December 5, 2006, the undersigned issued a Report and

   Recommendation recommending that the government’s Motion to Dismiss be granted

   and that the petition filed by Tanios and Marguerite Abi Chedid be denied because the

   petition did not comply with the statutory requirement that it be signed under penalty of

   perjury. See Report and Recommendation (DE# 655, 12/5/06).

          On January 4, 2007, Tanios and Marguerite Abi Chedid filed their Supplement

   Subsequent to the United States Magistrate Judge John O’Sullivan Report Dated

   December 5, 2006 (DE# 688) which contained the following statement:

         Signed under penalty of perjury, swearing in Affidavit, the veracity of
         all Facts cited above, in addition to the Facts and allegations cited in the
         Petition dated September 1st, 2006 . . . as well as the veracity of the
         Facts mention[ed] in the supplement, posted from Brazil on November 17,
          2006 and delivered to the Honorable Court on November 28, 2006.”2


         1
           The petitions of the Abi Chedid petitioners and the Makhlouf petitioners were
   referred to the undersigned for a report and recommendation (DE# 632, 11/4/06).
         2
           Contrary to the assertions of Tanios and Marguerite Abi Chedid, the record
   does not reflect an additional supplement filed by these petitioners in November or
   December 2006. The record does reflect that Joseph Abi Chedid’s Supplement to the
   Third Party Motion for Modification of Forfeiture Order and Release of Property
   Forfeited (DE# 659) and the Makhlouf Petitioners’ Supplement to the Motion for
                                                3
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   See Supplement Subsequent to the United States Magistrate Judge John O’Sullivan

   Report Dated December 5, 2006 (DE# 688 at 5, 1/5/07) (emphasis in original). On

   February 2, 2007, the Court issued an Order (DE# 703) adopting the Report and

   Recommendation after a de novo review of the entire file.

         2.     Petitioner Joseph Abi Chedid

         On September 19, 2006, Joseph Abi Chedid filed his Petition of Third Parties

   Motion for Modification of Forfeiture Order and Release of Property Forfeited (DE# 583)

   concerning funds in account # 149312 up to $280,000.00, at InterAudi Bank, New York,

   New York. The government seized approximately $16,410.85 from the account. On

   October 4, 2006, the government moved to dismiss the petition for failure to comply

   with 21 U.S.C. § 853(n). See Motion to Dismiss the Petition for Failure to Comply with

   21 U.S.C. § 853 (DE# 603 at 3). On December 5, 2006, the undersigned issued a

   Report and Recommendation (DE# 653) recommending that the government’s motion

   to dismiss be granted and that the petition filed by Joseph Abi Chedid be dismissed as

   untimely and for failing to comply with the statutory requirement that it be signed under

   penalty of perjury. See Report and Recommendation (DE# 653 at 4). On December 7,

   2006, the petitioner filed his Supplement to the Third Party Motion for Modification of

   Forfeiture Order and Release of Property Forfeited (DE# 659, 12/7/06) which states

   that it is “Signed under penalty of perjury, and swearing the veracity of all the

   Facts cited above, in addition to the Facts and allegations cited in the Petition

   dated September 1st, 2006 as explained in this Supplement.” Id. at 6 (emphasis in


   Modification of Forfeiture Order and Release of Property Forfeited (DE# 657) were both
   filed on December 7, 2006.
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   original). On January 4, 2007, Joseph Abi Chedid filed his Supplement Subsequent to

   the United States Magistrate Honorable Judge John O’Sullivan Report Dated December

   5, 2006 (DE# 689). On February 7, 2007, after a de novo review of the entire file, the

   Court issued and Order (DE# 702) adopting the undersigned’s Report and

   Recommendation.

   B.     The Makhlouf Petitioners

          On September 25, 2006, the Makhlouf petitioners filed their Motion for

   Modification of Forfeiture Order and Release of Property Forfeited (DE# 591) directed

   at funds in account # XX9082 up to $33,000.00, at InterAudi Bank, New York, New

   York. The government seized approximately $12,878.03 from this account. On October

   16, 2006, the government moved to dismiss the Makhloufs’ petition for failure to comply

   with 21 U.S.C. § 853(n). See Motion to Dismiss the Petition [DE# 591] for Failure to

   Comply with 21 U.S.C. § 853 (DE# 608 at 3). On December 5, 2006, the undersigned

   issued a Report and Recommendation (DE# 654) recommending that the government’s

   motion to dismiss be granted and that the Makhloufs’ petition be dismissed because it

   was not made under penalty of perjury and was untimely filed. On December 7, 2006,

   the Makhlouf petitioners filed their Supplement to the Motion for Modification of

   Forfeiture Order and Release of Property Forfeited (DE# 657) which states that the

   Makhlouf petitioners “swear, as an Affidavit, under the Penalty of Perjury, that all what

   they have signed in this Supplement and in the Third Parties Petition dated September

   12, 2006 taking into consideration the facts of the amendments of the notification date

   stated above, are all correct and true.” Id. at 3. On January 4, 2007, the Makhlouf

   petitioners filed a Supplement Subsequent to the United States Magistrate Judge John

                                               5
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   J. O’Sullivan Report Dated December 5, 2006 (DE# 687). The Court issued an Order

   (DE# 695) adopting the Report and Recommendation of the undersigned on January

   18, 2007 after a de novo review of the record.

   C.    The Instant Motions

         1.     The Makhlouf Petitioners’ Motion for Reconsideration

         On February 28, 2007, the Makhlouf petitioners filed their Motion for [sic]

   Reconsider Order (D.E. 695) Dated January 19, 2007 Adopting Magistrate’s Report

   (D.E. 654) Dated December 5, 2006 (DE# 715) (hereinafter “Motion for

   Reconsideration”). On March 9, 2007, the government filed its Response in Opposition

   to Motion for [sic] Reconsider Order, etc. [DE 715] (DE# 721). The Makhlouf petitioners

   did not file a reply. On July 5, 2007, the government filed its Supplemental Authority to

   Response In Opposition [DE 721] to Motion for [sic] Reconsider Order, etc. [DE 715]

   (DE# 780).

         2.     The Abi Chedid Petitioners’ Motion for Clarification

         On June 26, 2007, the Abi Chedid petitioners filed a joint Motion for Clarification

   and Reconsideration of Dismissal Orders and for Leave to Amend Petitions of Third

   Party Petitioners to Address Deficiencies (DE# 776). The government filed Plaintiff’s

   Response in Opposition to Motion for Reconsideration (DE# 779) on July 3, 2007. The

   Abi Chedid petitioners filed their Reply Regarding Government’s Response to Motion

   for Clarification and Reconsideration of Dismissal Orders (DE# 785) on July 17, 2007.

   On July 25, 2007, the government filed its Supplemental Authority to Response in

   Opposition [DE 779] to Motion for Clarification, Etc. [DE 776] (DE# 792). The petitioners

   filed their Supplemental Reply Regarding Government’s Response to Motion for

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   Clarification and Reconsideration of Dismissal Orders (DE# 793) on July 27, 2007.

                                             ANALYSIS

   A.     Whether the Court Has Jurisdiction

          At the outset, the government challenges the Court’s jurisdiction to rule on the

   pending motions. According to the government, the “Court lacks jurisdiction over the

   petitions because they failed to comply with 21 U.S.C. § 853." See Plaintiff’s Response

   in Opposition to Motion for Reconsideration (DE# 779 at 1, 7/3/07). The government

   relies on Bowles v. Russell, 127 S.Ct. 2360 (2007). Id. at 2. In Bowles, the Supreme

   Court held that “the timely filing of a notice of appeal in a civil case is a jurisdictional

   requirement” and “this Court has no authority to create equitable exceptions to

   jurisdictional requirements.” Bowles, 127 S.Ct. at 2366. The Supreme Court noted that

   “[b]ecause Congress decides whether federal courts can hear cases at all, it can also

   determine when, and under conditions, federal courts can hear them.” Id. at 2366.

   Similarly, the government argues that “because of the [p]etitioners’ lack of compliance

   with the statute’s requirement to file the petition under the penalty of perjury, and as to

   J[ospeh Abi] Chedid [and the Makhlouf petitioners],3 to file the petition within 30 days of

   receipt [of notice], this Court has no authority to create equitable exceptions to the

   jurisdictional requirements of 21 U.S.C. § 853 (n).” See Plaintiff’s Response in

   Opposition to Motion for Reconsideration (DE# 779 at 3, 7/3/07). The Abi Chedid


          3
             The government raises the same argument as to the Makhlouf petitioners. See
   Supplemental Authority to Response in Opposition [DE 721] to Motion for [Sic]
   Reconsider Order, etc. [DE 715] (DE# 780 at 1, 7/5/07) (arguing that “[p]ursuant
   [Bowles], this Court lacks jurisdiction over the petition[ers] because they failed to
   comply with 21 U.S.C. § 853 and lacks the authority to create equitable exceptions to
   jurisdictional requirements.”).
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   petitioners counter that the Court’s Orders adopting the undersigned’s Reports and

   Recommendations were not final orders and thus, the Court may reconsider its prior

   rulings.4 See Reply Regarding Government’s Response to Motion for Clarification and

   Reconsideration of Dismissal Orders (DE# 785 at 4, 7/17/07).

          The undersigned concludes that this Court has jurisdiction to rule on the instant

   motions for reconsideration. The Supreme Court in Bowles v. Russell, 127 S.Ct. 2360

   (2007) was clear that it was merely reiterating a clearly established legal principle: that

   the deadline to file a notice of appeal is jurisdictional and cannot be extended by the

   district court. “This Court has long held that the taking of an appeal within the

   prescribed time is ‘mandatory and jurisdictional.’” Bowles, 127 S.Ct. at 2363 (emphasis

   added). “Although several of our recent decisions have undertaken to clarify the

   distinction between claims-processing rules and jurisdictional rules, none of them calls

   into question our longstanding treatment of statutory time limits for taking an appeal as

   jurisdictional.” Id. at 2364 (emphasis added). Courts have recognized that under certain

   circumstances third party petitioners may amend their petitions. See United States v.

   Joyeros S.A., 410 F.Supp.2d 121, 124 (E.D. N.Y. 2006) (district court would have

   allowed the petitioners to amend their petitions to meet with the requirement that the

   petitions be signed under penalty of perjury but for the petitions’ failure on the merits).

   Thus, under Bowles, this Court is not deprived of jurisdiction to consider the instant

   motions merely because the petitioners did not initially comply with 21 U.S.C. § 853 (n)

   when they filed their petitions.


          4
           The Makhlouf petitioners, who are proceeding pro se, have not responded to
   the government’s jurisdictional argument.
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          In addition to Bowles, the government relies on Smith v. School Board of Orange

   County, 487 F.3d 1361 (11th Cir. 2007) to support its argument that “[the] petitioners

   waived their right to challenge nondispositive orders because they failed to timely

   challenge the magistrate’s Report and Recommendation and the district court’s order

   adopting same dismissing Petitioners’ motion for failure to comply with the procedural

   requirements of 21 U.S.C. § 853 (n).” See Supplemental Authority to Response in

   Opposition [DE 779] to Motion for Clarification, etc. [DE 766] (DE# 792 at 1-2, 7/25/07).

   In response, the Abi Chedid petitioners5 note that unlike Smith, no final judgment has

   been entered in the instant case. See Supplemental Reply Regarding Government’s

   Response to Motion for Clarification and Reconsideration of Dismissal Orders (DE# 793

   at 2, 7/27/07). In Smith, the Eleventh Circuit concluded that “[b]ecause [the plaintiff] did

   not file objections to the magistrate’s November 23, 2005 order, he has waived that

   issue for purposes of [his] appeal.” Smith, 487 F.3d at 1365 (emphasis added).

   Additionally, the Court held that because the plaintiff’s motion for reconsideration was

   filed beyond the 10-day limitation period of Fed. R. Civ. P. 72(a) it could not be

   considered an objection to the report and recommendation. Id. Here, although the

   petitioners’ failure to timely file objections to the undersigned’s Reports and

   Recommendations may limit the issues they may raise on appeal, it does not preclude

   this Court from considering the instant motions for reconsideration.6




          5
          The Makhlouf petitioners did not file a response to the government’s
   supplemental authority.
          6
           The undersigned does not construe the petitioners’ motions for reconsideration
   as objections to the December 5, 2006 Reports and Recommendations.
                                            9
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    B.    Whether the Petitioners Have Met the Motion for Reconsideration Standard

          Having determined that the Court has jurisdiction to consider the instant motions,

   the undersigned will now address whether the petitioners have met the standard for a

   motion for reconsideration. To prevail on a motion for reconsideration, “the moving

   party must demonstrate why the court should reconsider its prior decision and set forth

   facts or law of a strongly convincing nature to induce the court to reverse its prior

   decision.” Instituto de Prevision Militar v. Lehman Bros., Inc., 485 F.Supp.2d 1340,

   1343 (S.D. Fla. 2007) (internal quotations omitted). “‘Courts have distilled three major

   grounds justifying reconsideration: (1) an intervening change in controlling law; (2) the

   availability of new evidence; and (3) the need to correct clear error or manifest

   injustice.’” Id. (quoting Cover v. Wal-Mart Stores, Inc., 148 F.R.D. 294, 295 (M.D.

   Fla.1993)). Reconsideration of a previous order is an extraordinary remedy to be

   employed sparingly. Wendy’s Int’l, Inc. v. Nu-Cape Construction, Inc., 169 F.R.D. 680

   (M.D. Fla. 1996).

          With respect to the Abi Chedid petitioners, the government argues that they have

   “failed to allege any new basis, facts, excusable neglect or any other reason which

   warrants the Court’s exercise of its discretion to vacate its Dismissal Orders” as

   required by Fed. R. Civ. P. 60(b). See Plaintiff’s Response in Opposition to Motion for

   Reconsideration (DE# 779 at 7, 7/3/07). The government also argues that the Makhlouf

   “[p]etitioners have not alleged any new basis or facts which warrants the Court’s

   exercise of its discretion to vacate its Order adopting the . . . Report and

   Recommendation denying the [p]etitioners’ petition.” See Response in Opposition to

   Motion for [Sic] Reconsideration Order, etc. [DE# 715] (DE# 721 at 6, 3/9/07).

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          Based on the additional information contained in the petitioners’ supplemental

   filings, the undersigned concludes that reconsideration is needed to correct manifest

   injustice. The petitioners are foreign nationals who were proceeding pro se7 at the time

   they filed their third party petitions and supplemental filings contesting this Court’s

   Preliminary Order of Forfeiture (DE# 428, 5/25/06). Due to the petitioners’ pro se status,

   the petitions and supplemental filings must be “liberally construed” and “held to less

   stringent standards than formal pleadings drafted by lawyers.” Erickson v. Pardus, 127

   S.Ct. 2197, 2200 (2007) (quoting Estelle v. Gamble, 429 U.S. 97, 106 (1976)). Although

   the petitions were inexpertly drafted and did not comply with 21 U.S.C. § 853 (n),

   through their supplemental filings, the petitioners have shown due diligence in

   attempting to comply with section 853 (n). All three petitioners have now submitted their

   claims under penalty of perjury. Additionally, Joseph Abi Chedid and the Makhlouf

   petitioners have explained to the Court why their petitions were untimely. Thus, the

   Court should exercise its discretion in reconsidering the Orders adopting the December

   5, 2006 Reports and Recommendations.

   C.     Amendments to the Petitions

          1.     Whether the Petitions Can Be Amended to Comply with the Statutory
                 Requirement That They Be Signed under Penalty of Perjury

          The initial petitions filed by the Makhlouf petitioners and the Abi Chedid

   petitioners failed to comply with the requirement that they be signed under penalty of

   perjury. See Tanios and Marguerite Abi Chedid’s Petition of Third Parties Motion for



          7
           The Abi Chedid petitioners did not retain counsel until they filed the instant
   motion for reconsideration. The Makhlouf petitioners remain pro se.
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   Modification of Forfeiture Order and Release of Property Forfeited (DE# 579, 9/13/06),

   Joseph Abi Chedid’s Petition of Third Parties Motion for Modification of Forfeiture Order

   and Release of Property Forfeited (DE# 583, 9/19/06) and the Makhlouf petitioners’

   Motion for Modification of Forfeiture Order and Release of Property Forfeited (DE# 591,

   9/25/06). After the undersigned issued the December 5, 2006 Reports and

   Recommendations recommending that the petitions be dismissed, the petitioners

   supplemented their petitions to satisfy this requirement.

          The undersigned must determine whether amendments to a third party petition

   can cure the failure to sign a petition under penalty of perjury. The undersigned finds

   that they can. The purpose behind this requirement is to protect the assets and the

   government’s interest therein against false claims. United States v. Joyeros S.A., 410

   F.Supp.2d 121, 124 (E.D. N.Y. 2006) (noting that this requirement is “no mere

   formality”). Although strict compliance is generally required, “a court has discretion in

   appropriate circumstances to depart from the strict compliance standard.” Id. (internal

   citations and quotation marks omitted). In Joyers S.A., the district court would have

   allowed the petitioners to amend their petitions to meet with the requirement that the

   petitions be signed under penalty of perjury but for the petitions’ failure on the merits.

   Id.

          Here, the petitioners have all filed supplements swearing under penalty of perjury

   to the veracity of their claims. Thus, the petitioners through their supplemental filings,

   have now complied with the requirement that their petitions be signed under penalty of

   perjury.



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          2.     Whether the Untimely Petitions Can Be Equitably Tolled

          Next, the undersigned must determine whether the Court can consider the

   untimely petitions filed by Joseph Abi Chedid and the Makhlouf petitioners.8 The

   statutory period for filing a third party petition under 21 U.S.C. § 853(n) is “within thirty

   days of the final publication of notice or [the petitioner’s] receipt of notice under

   paragraph (1), whichever is earlier.” 21 U.S.C. § 853(n)(2).

          The government claims that it sent notice to Joseph Abi Chedid on July 31, 2006

   and that the return receipt was executed on August 17, 2006.9 See Plaintiff’s Response

   in Opposition to Motion for Reconsideration (DE# 779 at Exhibit A, 7/3/07). Initially,

   Joseph Abi Chedid acknowledged receipt of the notice on August 19, 2006. See

   Petition of Third Parties Motion for Modification of Forfeiture Order and Release of

   Property Forfeited (DE# 583 at 1, 9/21/06). However, in his supplemental filing, Joseph

   Abi Chedid clarified that he did not personally receive the notice. It was signed by an

   unknown person on August 17, 2006 and placed in the mail box of the Tanios Abi

   Chedid on August 19, 2006. See Supplement to the Third Party Motion for Modification

   of Forfeiture Order and Release of Property Forfeited (DE# 659 at 2-3, 12/7/06).

   Joseph Abi Chedid further stated that his petition was received by this Court on

   September 19, 2006 and attaches a Track and Confirmation receipt from the U.S.


          8
            The government does not dispute that the petition filed by Tanios and
   Marguerite Abi Chedid was timely. See Motion to Dismiss the Petition [DE# 579] for
   Failure to Comply with 21 U.S.C. § 853 (DE# 602, 10/5/06).
          9
           The government also sent notice to Alex Gil, Esq., Joseph Abi Chedid’s
   attorney, on August 1, 2006. See Plaintiff’s Response to Order Dated September 28,
   2006 [DE# 590] and Motion to Dismiss the Petition for Failure to Comply with 21 U.S.C.
   § 853 (DE# 603 at 2, 10/5/06).
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   Postal Service as proof. See Supplement Subsequent to the United States Magistrate

   Honorable Judge John O’Sullivan’s Report dated December 5, 2006 (DE# 689, 1/5/07).

   Joseph Abi Chedid’s petition (DE# 583) was docketed on September 21, 2006. Thus,

   under Joseph Abi Chedid’s account, his petition was filed one day late.

          The Makhlouf petitioners claim they received notice from the government on

   August 20, 2006. See Motion for Modification of Forfeiture Order and Release of

   Property Forfeited (DE# 591 at 3, 9/25/06). They filed their petition on September 25,

   2006. Thus, the Makhlouf petitioners filed their petition six days late.

          The undersigned notes that this is not a case where the third party petition was

   filed several months late. Joseph Abi Chedid’s petition was filed one-day late and the

   Makhlouf petition was filed six days late. Additionally, these petitioners, who at the time

   were pro se, submitted supplemental filings explaining their delay and demonstrating

   due diligence. Under these circumstances, the undersigned recommends that the Court

   exercise its discretion in considering the untimely petitions of Joseph Abi Chedid and

   the Makhlouf petitioners. See U.S. v. BCCI Holdings (Luxembourg), S.A. (Petition of

   Indosuez Bank), 916 F.Supp. 1276 (D.D.C.1996) (court may “equitably toll” time for

   filing 18 U.S.C. 1963(l) claim if claimant demonstrates due diligence).

          Accordingly, the undersigned respectfully recommends that the Makhlouf

   petitioners’ Motion for Reconsider [sic] Order (D.E. 695) Dated January 19, 2007

   Adopting Magistrate’s Report (D.E. 654) Dated December 5, 2006 (DE# 715, 2/28/07)

   and the Abi Chedid petitioners’ Motion for Clarification and Reconsideration of

   Dismissal Orders and for Leave to Amend Petitions of Third Party Petitioners to

   Address Deficiencies (DE# 776, 6/26/07) be GRANTED.

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                                    RECOMMENDATION

          In accordance with the foregoing, it is hereby RESPECTFULLY

   RECOMMENDED that the Makhlouf petitioners’ Motion for Reconsider [sic] Order (D.E.

   695) Dated January 19, 2007 Adopting Magistrate’s Report (D.E. 654) Dated December

   5, 2006 (DE# 715, 2/28/07) and the Abi Chedid petitioners’ Motion for Clarification and

   Reconsideration of Dismissal Orders and for Leave to Amend Petitions of Third Party

   Petitioners to Address Deficiencies (DE# 776, 6/26/07) be GRANTED and the matter

   be referred to the undersigned for a Report and Recommendation on the merits of the

   petitions.

          The parties have ten (10) days from the date of receipt of this Report and

   Recommendation within which to serve and file written objections, if any, with the

   Honorable Donald Graham, United States District Court Judge. Failure to file timely

   objections shall bar the parties from attacking on appeal the factual findings contained

   herein. See LoConte v. Dugger, 847 F. 2d 745 (11th Cir. 1988), cert. denied, 488 U.S.

   958 (1988).

          RESPECTFULLY SUBMITTED, in Chambers, at Miami, Florida, this 20th day of

   September, 2007.


                                            JOHN J. O’SULLIVAN
                                            UNITED STATES MAGISTRATE JUDGE




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